     Case 3:20-cv-06785-WHO         Document 1     Filed 09/29/20    Page 1 of 16


 1   MELINDA M. MORTON (SBN 209373)
     mindy.morton@procopio.com
 2   PROCOPIO, CORY, HARGREAVES & SAVITCH LLP
     1117 S California Ave, Suite 200
 3   Palo Alto, CA 94304
     Telephone: 650.645.9020
 4   Facsimile: 650.687.8320
 5   GREGORY F. CORBETT (Mass. B.B.O. No. 646394)
     Pro Hac Vice to be submitted
 6   gcorbett@wolfgreenfield.com
     BRYAN S. CONLEY
 7   Pro Hac Vice to be submitted (Mass. B.B.O. No. 666830)
     bconley@wolfgreenfield.com
 8   ELIZABETH A. DIMARCO (Mass. B.B.O. No. 681921)
     Pro Hac Vice to be submitted
 9   edimarco@wolfgreenfield.com
     KEVIN R. MOSIER (Mass. B.B.O. No. 703739)
10   Pro Hac Vice to be submitted
     kmosier@wolfgreenfield.com
11   WOLF, GREENFIELD & SACKS, P.C
     600 Atlantic Avenue, Boston, MA 02210
12   Tel: (617) 646-8000 Fax: (617) 646-8646
13   Attorneys for Plaintiff
     AMPHENOL CORPORATION
14
                                UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16

17    AMPHENOL CORPORATION,                     Case No.: 3:20-cv-06785
18                Plaintiff,                    COMPLAINT FOR PATENT
                                                INFRINGEMENT
19    v.
                                                DEMAND FOR JURY TRIAL
20    LUXSHARE-ICT and LUXSHARE
      PRECISION INDUSTRY CO. LTD.,
21
                  Defendants.
22

23

24

25

26

27

28



     COMPLAINT                                                            Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO            Document 1       Filed 09/29/20      Page 2 of 16


 1                          COMPLAINT FOR PATENT INFRINGEMENT
 2          Plaintiff Amphenol Corporation (“Amphenol”) for its complaint against Defendants
 3   Luxshare-ICT, Inc. (“Luxshare-ICT”) and Luxshare Precision Industry Co. Ltd. (“Luxshare
 4   Precision”) (collectively, “Luxshare” or “Defendants”), hereby demands a jury trial and alleges as
 5   follows:
 6                                        NATURE OF ACTION
 7          1.      This is an action for patent infringement of United States Patent No. 7,371,117
 8   (the “’117 Patent”) and United States Patent No. 10,381,767 (the “’767 Patent”) (collectively, the
 9   “Patents-in-Suit”), arising under the patent laws of the United States of America, Title 35 of the
10   United States Code, and seeking damages and other relief under 35 U.S.C. § 271, et seq.
11                                           INTRODUCTION
12          2.      Amphenol is a technology leader in high speed, high density interconnect devices.
13   Its interconnect products enable our modern economy, which is built on electronic
14   communication, to run effectively. Even the most powerful server is useless without network
15   connections that can reliably pass billions of bits of data in thousands of streams every second.
16   Amphenol’s interconnect products enable those connections.
17          3.      Since its founding in Chicago in 1932, Amphenol has grown to be one of the
18   world’s largest designers and manufacturers of interconnect products. Amphenol products are
19   used in virtually every end-market, including automotive, broadband communications,
20   commercial aerospace, industrial, information technology and data communications, military,
21   mobile devices, and mobile networks.
22          4.      Amphenol’s AICC Group (“AICC”) sells interconnect products that are key
23   components of electronic devices that form the foundation of modern communication, including
24   servers, switches, routers, and base stations that provide broadband internet and 5G cellular
25   communication. AICC’s growth into this market-leading position is the direct result of its annual
26   investments of multiple millions of dollars in research and development to overcome the
27   engineering challenges of passing more electronic signals, of ever higher frequencies, through the
28   often tortuous path between these electronic devices and a network. It has cultivated engineering

                                                     -2-
     COMPLAINT                                                                  Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO            Document 1         Filed 09/29/20   Page 3 of 16


 1   centers in Nashua, NH and Valley Green, PA with state-of-the-art signal integrity laboratories and
 2   computer modeling capabilities that enable Amphenol to continuously push the technological
 3   limits of both speed and density of interconnects.
 4          5.      The results of this research are embodied by the Patents-in-Suit and demonstrated
 5   by a long history of industry firsts and other accolades. For example, nearly 40 years ago,
 6   AICC’s TCS business unit (“Amphenol TCS”) pioneered the industry’s first modular high density
 7   connector (HD+®). In the 1990s, Amphenol TCS launched the industry’s first commercially
 8   successfully connector optimized for high speed differential applications at speeds greater than
 9   5.0 Gb/s (VHDM-HSD™). In the 2000s, Amphenol TCS announced a breakthrough in
10   interconnect performance with the introduction of its XCede® connector platform. The XCede®
11   connector platform is designed to support 20+ Gbps requirements. In recognition of its
12   commitment to innovation and technology advancements, Amphenol TCS has received numerous
13   industry awards and praise. For example, Amphenol’s XCede® connector platform was awarded
14   Product of the Year by Electronic Products Magazine in 2007, and was named DesignVision
15   Award winner in the Interconnect and Component Technology category from the International
16   Engineering Consortium (IEC) for innovative products and services that support the work of
17   electronic design engineers in 2008.
18          6.      Among AICC’s products are high speed I/O (“HSIO”) connectors. Amphenol’s
19   patented innovations enhance the performance of HSIO connectors from AICC’s HSIO business
20   unit. Many HSIO connectors have interfaces based on Small Form-factor Pluggable (“SFP”)
21   standards, with variations to carry more signals in the same space, such as Quad Small Form-
22   Factor Pluggable (“QSFP”) or Quad Small Form-Factor Pluggable Double Density (“QSFP-
23   DD”). Connectors according to the SFP standards may be implemented in a variety of
24   configurations (e.g., 1x1, 1x2, 2x1, 2x2, etc.).
25          7.      While the outward interfaces for these connectors are standardized, the internal
26   design—which drives performance—is not. Amphenol has used its advanced technology to
27   support a range of operating speeds to support current and future demands. Amphenol’s
28   Ultraport® product line includes connectors designed to pass data at up to 28 GBps/channel,

                                                        -3-
     COMPLAINT                                                                 Case No.: 3:20-cv-06785
      Case 3:20-cv-06785-WHO          Document 1       Filed 09/29/20      Page 4 of 16


 1   while connectors in its Expressport™ product line are designed for lower speeds and connectors
 2   in its Extremeport™ product line are designed for higher frequencies.
 3          8.      Luxshare Precision, headquartered in Dongguan, China, was founded in 2004, and
 4   is a relative newcomer to the HSIO connector market. Luxshare-ICT is headquartered in
 5   Milpitas, CA and operates as Luxshare Precision’s North American office. See Ex. 3. Rather
 6   than expend the necessary resources in research and development, Luxshare has opted instead to
 7   copy Amphenol’s patented technology and designs. Luxshare now sells HSIO connectors that
 8   infringe the Patents-in-Suit. Connector footprint drawings that serve as instructions to customers
 9   on how to attach Luxshare’s connectors to a printed circuit board are available to download on
10   Luxshare’s website. See Ex. 4. 1 As illustrated in the comparison below, the Luxshare connector
11   footprint drawings reveal that Luxshare has so exactly copied Amphenol’s designs that
12   Luxshare’s connector footprint replicates Amphenol’s connector footprint with a precision of a
13   fraction of a millimeter.
14   //
15   //
16   //
17

18

19

20

21

22

23

24

25

26

27
     1
28    Although the drawing is labeled as the “property of Luxshare,” it was publicly available for
     download by selecting the “drawing” button shown on page one of Exhibit 4.
                                                   -4-
     COMPLAINT                                                                Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO            Document 1      Filed 09/29/20     Page 5 of 16


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16          9.      Luxshare offers and sells HSIO connectors that infringe the Patents-in-Suit (the
17   “Accused Products”). The Accused Products include, for example, Luxshare’s QSFP and QSFP-
18   DD connectors. Two examples of Luxshare’s QSFP connectors are the Super QSFP connector
19   and the Ultra QSFP connector, which are described in the product brochure excerpted below and
20   attached as Exhibit 5 to this complaint.
21   //
22   //
23   //
24

25

26

27

28

                                                    -5-
     COMPLAINT                                                                 Case No.: 3:20-cv-06785
      Case 3:20-cv-06785-WHO          Document 1        Filed 09/29/20     Page 6 of 16


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11   See Ex. 5.
12          10.     Further, the Accused Products are available in several different configurations.
13   See Ex. 5; see also Ex. 4. For example, the Accused Products may be configured with a single
14   port (1x1), multiple ports in a single row (1xN), two stacked ports (2x1), or multiple stacked ports
15   (2xN). Exhibit 6 contains photographs of an exemplary Accused Product having two stacked
16   ports (2x1). The Accused Product may also be configured to accommodate different data speeds,
17   such as, 28G, 56G, 100G, and 200G. 2 On information and belief, the Accused Products having
18   any of the foregoing configurations infringe one or more claims of the Patents-in-Suit.
19          11.     On information and belief, from January 28 through January 30, 2020, Luxshare
20   hosted an exhibitor booth at the DesignCon trade show in Santa Clara, California, where
21   Luxshare employees displayed, marketed, and offered the Accused Products for sale in California
22   and elsewhere in the United States. Exhibit 7 is a copy of the DesignCon 2020 Floor Plan, which
23   shows Luxshare occupied booth number 717. Further, the Floor Plan shows that Luxshare’s
24   booth was located near Amphenol’s booth.
25          12.     Luxshare and Amphenol are competitors. By infringing the technology claimed
26   by the Patents-in-Suit and replicating Amphenol’s footprint design for mounting connectors to a
27
     2
28    The 100G models are given the prefix “S” meaning “Super” (for example, “S-QSFP”). The
     200G models are given the prefix “U” meaning “Ultra” (for example, “U-QSFP”).
                                                 -6-
     COMPLAINT                                                             Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO            Document 1       Filed 09/29/20      Page 7 of 16


 1   customer’s printed circuit board, Luxshare has circumvented the need to invest in the expensive
 2   research and development that would be required to develop its own high speed connector
 3   technology.
 4          13.     On information and belief, Luxshare has attempted to misappropriate Amphenol’s
 5   existing customers by offering Luxshare’s infringing copycat HSIO connectors.
 6                                            THE PARTIES
 7          14.     Amphenol is a corporation duly organized and existing under the laws of the state
 8   of Delaware, having its principal place of business located at 358 Hall Avenue, Wallingford,
 9   Connecticut 06492.
10          15.     On information and belief, Luxshare-ICT is a California corporation with its
11   principal place of business located at 890 Hillview Court, Suite 200, Milpitas, California 95035.
12   Luxshare-ICT is located within the Northern District of California and does business within this
13   District, including marketing, selling, and/or offering to sell high speed connectors in the United
14   States and in California that infringe the Patents-in-Suit. On information and belief, Luxshare-
15   ICT is a corporate subsidiary of Luxshare Precision.
16          16.     On information and belief, Luxshare Precision is a corporation organized and
17   existing under the laws of China with its principal place of business located at No. 17 Kuiqing
18   Road, Qinghuang Industrial Zone, Qingxi Town, Dongguan City 523650, China. On information
19   and belief, Luxshare Precision is the corporate parent of Luxshare-ICT. On information and
20   belief, Luxshare Precision manufactures the Accused Products in China. Further, on information
21   and belief, Luxshare Precision exercises control over Luxshare-ICT and/or acts through
22   Luxshare-ICT to market, sell, and/or offer to sell the Accused Products in the United States. For
23   example, Luxshare Precision presents Luxshare-ICT as its North American Office. See Ex. 3.
24                                    JURISDICTION AND VENUE
25          17.     This action for patent infringement arises under the Patent Laws of the United
26   States of America, 35 U.S.C. § 100 et seq. This Court has federal question subject matter
27   jurisdiction over the matters pleaded herein under 28 U.S.C. §§ 1331 and 1338(a).
28

                                                     -7-
     COMPLAINT                                                                  Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO              Document 1        Filed 09/29/20       Page 8 of 16


 1           18.     This Court has personal jurisdiction over Luxshare-ICT because, inter alia,
 2   Luxshare-ICT is a California corporation having its principal place of business located within this
 3   district. Further, on information and belief, Luxshare-ICT regularly and continuously transacts
 4   business within the State of California and this judicial district, including committing acts of
 5   infringement by making, using, importing, offering to sell, and selling products for use by
 6   California citizens that infringe the Patents-in-Suit. Further, on information and belief, Luxshare-
 7   ICT attended DesignCon in Santa Clara, California from January 28-30, 2020 and marketed and
 8   offered to sell products that infringe the Patents-in-Suit.
 9           19.     This Court has personal jurisdiction over Luxshare Precision because, on
10   information and belief, Luxshare Precision regularly and continuously transacts business within
11   the State of California and this judicial district either directly or through the actions of Luxshare-
12   ICT as its agent and/or alter-ego, including committing acts of infringement by making, using,
13   importing, offering to sell, and selling products for use by California citizens that infringe the
14   Patents-in-Suit.
15           20.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b) and 1400(b)
16   because: Luxshare-ICT resides in this District, both defendants have committed acts of
17   infringement in this District, and both defendants maintain and/or are responsible for a regular
18   and established place of business in this District. For instance, Luxshare-ICT has its principal
19   place of business located at 890 Hillview Court, Suite 200, Milpitas, California 95035, and
20   Luxshare-ICT operates on Luxshare Precision’s behalf.
21           21.     With respect to Luxshare Precision, venue is also proper under 28 U.S.C. §§
22   1391(b) and (c), and 1400(b) because as a foreign corporation, it may be sued in any judicial
23   district that has personal jurisdiction over it, including this judicial district as set forth above.
24                                   INTRADISTRICT ASSIGNMENT
25           22.     Pursuant to Civil L.R. 3-2(c), this action is an Intellectual Property Rights case and
26   should be assigned on a district-wide basis.
27

28

                                                        -8-
     COMPLAINT                                                                       Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO              Document 1        Filed 09/29/20      Page 9 of 16


 1                                     LUXSHARE’S INFRINGEMENT
 2             A.      Amphenol’s Asserted Patents
 3             23.     On May 13, 2008, the United States Patent and Trademark Office duly and legally
 4   issued the ’117 Patent, entitled “High Speed, High Density Electrical Connector.” Amphenol
 5   owns all right, title, and interest in the ’117 Patent, including all rights of recovery. A true and
 6   accurate copy of the ’117 Patent is attached as Exhibit 1.
 7             24.     The ’117 Patent is valid and enforceable.
 8             25.     Luxshare has actual knowledge of the ’117 Patent at least as of the filing of this
 9   action.
10             26.     On August 13, 2019, the United States Patent and Trademark Office duly and
11   legally issued the ’767 Patent, entitled “High Performance Cable Connector.” Amphenol owns
12   all right, title, and interest in the ’767 Patent, including all rights of recovery. A true and accurate
13   copy of the ’767 Patent is attached as Exhibit 2.
14             27.     The ’767 Patent is valid and enforceable.
15             28.     On May 18, 2016, Luxshare executed a license with Amphenol regarding products
16   not at issue in this litigation. That agreement included an attachment that listed United States
17   patent application number 15/065,683, which is the patent application underlying the ’767 patent.
18   Therefore, Luxshare had actual knowledge of the application underlying the ’767 patent at least
19   as of May 18, 2016. Luxshare has known, should have known, or has had willful ignorance of
20   the ’767 patent as of its issuance on August 13, 2019.
21             29.     Further, Luxshare has actual knowledge of the ’767 Patent at least as of the filing
22   of this action.
23             B.      Luxshare’s Infringing Products
24             30.     Luxshare uses the Accused Products in the United States, sells the Accused
25   Products in the United States, offers the Accused Products for sale in the United States, and/or
26   imports the Accused Products into the United States. Exhibit 8 is a copy of a webpage from
27   Luxshare’s website showing its United States and global presence.
28

                                                       -9-
     COMPLAINT                                                                    Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO           Document 1       Filed 09/29/20      Page 10 of 16


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12   See Ex. 8.
13          31.     Further, on information and belief, Luxshare manufactures the Accused Products
14   in China and supplies the Accused Products to third parties with knowledge that the Accused
15   Products will be incorporated into servers, routers, switches, and other telecommunications
16   hardware, which will be imported, sold, offered for sale, and/or used in California and elsewhere
17   in the United States. See Ex. 4 (describing applications).
18                                               COUNT I
19                            (Luxshare’s Infringement of the ’117 Patent)
20          32.     Plaintiff hereby repeats and re-alleges the preceding paragraphs as if set forth
21   specifically herein.
22          33.     Luxshare has directly infringed one or more claims of the ’117 Patent in violation
23   of 35 U.S.C. § 271(a), by having made, used, offered for sale, sold, and/or imported in this
24   District and elsewhere in the United States the Accused Products. Further, on information and
25   belief, Luxshare continues to directly infringe one or more claims of the ’117 Patent.
26          34.     The ’117 Patent relates to an electrical connector with electrically lossy materials
27   bridging ground members. For example, claim 9 of the ’117 Patent states:
28

                                                    - 10 -
     COMPLAINT                                                                  Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO             Document 1       Filed 09/29/20       Page 11 of 16


 1                  9. An electrical connector comprising a plurality of regions, each region
                    having:
 2
                    insulative material;
 3
                    a plurality of signal conductors, each signal conductor having a contact tail
 4                  and a contact portion and an intermediate portion there between, and at least
                    a part of the intermediate portion of each of the plurality of signal conductors
 5                  secured in the insulative material;
 6                  a plurality of conductive elements not in contact with any one of the plurality
                    of signal conductors, each conductive element having an intermediate
 7                  portion; and
 8                  electrically lossy material extending between and in contact with the
                    intermediate portion of each of the plurality of conductive elements, wherein
 9                  the plurality of signal conductors are not electrically connected with the
                    electrically lossy material.
10

11          35.     Luxshare has directly infringed and, on information and belief, continues to
12   directly infringe at least claim 9 of the ’117 Patent either literally or under the doctrine of
13   equivalents. The Accused Products satisfy each and every limitation recited in claim 9 of the
14   ’117 Patent.
15          36.     On information and belief, Luxshare has actively and knowingly sold, and
16   continues to actively and knowingly sell, the Accused Products to third parties outside the United
17   States with the knowledge and intent that the Accused Products will be imported, sold, offered for
18   sale, and/or used in California and elsewhere in the United States. At least as of the date this
19   complaint is filed, Luxshare does so with knowledge that the Accused Products infringe one or
20   more claims of the ’117 Patent.
21          37.     On information and belief, Luxshare has actively and knowingly induced, and
22   continues to actively and knowingly induce, infringement of at least claim 9 of the ’117 Patent in
23   violation of 35 U.S.C. § 271(b).
24          38.     Luxshare’s acts of infringement are and have been without Amphenol’s
25   permission, consent, authorization, or license. Luxshare’s acts of infringement have caused and
26   continue to cause damage to Amphenol. Amphenol is entitled to recover from Luxshare the
27   damages sustained by Amphenol as a result of Luxshare’s wrongful acts, together with interest
28   and costs as fixed by this Court under 35 U.S.C. § 284.

                                                      - 11 -
     COMPLAINT                                                                     Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO             Document 1        Filed 09/29/20     Page 12 of 16


 1           39.     Luxshare’s direct and induced infringement of the ’117 Patent is and has been
 2   willful since infringement began. At minimum, Luxshare’s infringement of the ’117 patent is
 3   willful as of the date this complaint is filed.
 4                                                 COUNT II
 5                              (Luxshare’s Infringement of the ’767 Patent)
 6           40.     Plaintiff hereby repeats and re-alleges the preceding paragraphs as if set forth
 7   specifically herein.
 8           41.     The ’767 Patent relates to an electrical connector having lead assemblies and
 9   conductive members embedded within a housing. For example, claim 1 of the ’767 Patent states:
10           1. A receptacle adapted for mounting to a printed circuit board, comprising:
11           a housing having a cavity bounded by a first surface that is parallel to the printed
             circuit board and an opposing second surface that is parallel to the printed circuit
12           board, each of the first and second surfaces being disposed above a first side of the
             printed circuit board;
13
             a first lead assembly including:
14
                     a first monolithic housing member; and
15
                     a first plurality of conductive elements each comprising a contact tail
16                   adapted for attachment to the printed circuit board that is perpendicular to
                     the first side of the printed circuit board, a mating contact portion disposed
17                   along the first surface of the cavity, and an intermediate portion disposed in
                     the first monolithic housing member and coupling the contact tail to the
18                   mating contact portion,
19                   wherein the first monolithic housing member comprises exterior
                     projections extending away from the first plurality of conductive elements
20                   along a direction parallel to the first surface; and
21
             a second lead assembly including:
22
                     a second monolithic housing member; and
23
                     a second plurality of conductive elements each comprising a contact tail
24                   adapted for attachment to the printed circuit board that is perpendicular to
                     the first side of the printed circuit board, a mating contact portion disposed
25                   along the second surface of the cavity, and an intermediate portion
                     disposed in the second monolithic housing member coupling the contact
26                   tail to the mating contact portion,
27                   wherein the second monolithic housing member comprises exterior
                     projections extending away from the second plurality of conductive
28                   elements along the direction parallel to the first surface.

                                                       - 12 -
     COMPLAINT                                                                    Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO            Document 1        Filed 09/29/20       Page 13 of 16


 1
               42.   Luxshare has directly infringed one or more claims of the ’767 Patent in violation
 2
     of 35 U.S.C. § 271(a), by having made, used, offered for sale, sold, and/or imported in this
 3
     District and elsewhere in the United States the Accused Products. Further, on information and
 4
     belief, Luxshare continues to directly infringe one or more claims of the ’767 Patent.
 5
               43.   Luxshare has directly infringed and, on information and belief, continues to
 6
     directly infringe at least claim 1 of the ’767 Patent either literally or under the doctrine of
 7
     equivalents. The Accused Products satisfy each and every limitation recited in claim 1 of the
 8
     ’767 Patent.
 9
               44.   On information and belief, Luxshare has actively and knowingly sold, and
10
     continues to actively and knowingly sell, the Accused Products to third parties outside the United
11
     States with the knowledge and intent that the Accused Products will be imported, sold, offered for
12
     sale, and/or used in California and elsewhere in the United States. On information and belief, at
13
     least as of the date the ’767 patent issued (August 13, 2019), Luxshare has done so with
14
     knowledge that the Accused Products infringe one or more claims of the ’767 Patent. Further, at
15
     least as of the date this complaint is filed, Luxshare is doing so with knowledge that the Accused
16
     Products infringe one or more claims of the ’767 Patent.
17
               45.   On information and belief, since August 13, 2019, Luxshare has actively and
18
     knowingly induced, and continues to actively and knowingly induce, infringement of at least
19
     claim 1 of the ’767 Patent in violation of 35 U.S.C. § 271(b).
20
               46.   Further, at least since the filing of this complaint, Luxshare has actively and
21
     knowingly induced infringement of at least claim 1 of the ’767 Patent in violation of 35 U.S.C. §
22
     271(b).
23
               47.   Luxshare’s acts of infringement are and have been without Amphenol’s
24
     permission, consent, authorization, or license. Luxshare’s acts of infringement have caused and
25
     continue to cause damage to Amphenol. Amphenol is entitled to recover from Luxshare the
26
     damages sustained by Amphenol as a result of Luxshare’s wrongful acts, together with interest
27
     and costs as fixed by this Court under 35 U.S.C. § 284.
28

                                                      - 13 -
     COMPLAINT                                                                     Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO             Document 1       Filed 09/29/20      Page 14 of 16


 1           48.     Luxshare’s direct and induced infringement of the ’767 patent is and has been
 2   willful since August 13, 2019. At minimum, Luxshare’s infringement of the ’767 patent is willful
 3   as of the date this complaint is filed.
 4                                         PRAYER FOR RELIEF
 5           WHEREFORE, Plaintiff prays for judgment as follows:
 6           A.      That Defendants have infringed one or more claims of each of the Patents-in-Suit;
 7           B.      That Defendants’ infringement was willful;
 8           C.      That Defendants and their respective officers, agents, servants, employees, dealers,
 9                   retailers, distributors, manufacturers, attorneys, and all others in active concert
10                   and/or participation with them be permanently enjoined from infringing the
11                   Patents-in-Suit through the use, importation, offer for sale, and/or sale of
12                   infringing products and/or any of the other acts prohibited by 35 U.S.C. § 271;
13           D.      Damages in an amount to be proven at trial;
14           E.      That Amphenol’s damages award be increased by up to three times the amount of
15                   damages assessed pursuant to 35 U.S.C. § 284;
16           F.      That this case be found exceptional under 35 U.S.C. § 285 and Amphenol be
17                   awarded its attorneys’ fees;
18           G.      That Amphenol be granted pre-judgment and post-judgment interest on the
19                   damages caused by Luxshare’s infringing activities and other conduct complained
20                   of herein; and
21    //

22    //

23    //

24

25

26

27

28

                                                      - 14 -
     COMPLAINT                                                                     Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO       Document 1        Filed 09/29/20   Page 15 of 16


 1        H.     That Amphenol be awarded such other and further relief as the Court may deem just
                 and proper under the circumstances.
 2

 3

 4   DATED: September 29, 2020                PROCOPIO, CORY, HARGREAVES &
                                                  SAVITCH LLP
 5

 6

 7                                            By:       /s/ Melinda M. Morton

 8                                                   MELINDA M. MORTON
                                                     PROCOPIO, CORY, HARGREAVES
 9                                                   & SAVITCH LLP
10                                                   1117 S. California Ave, Suite 200
                                                     Palo Alto, CA 94304
11                                                   Telephone: 650.645.9000
                                                     Facsimile: 619.235.0398
12

13                                                   GREGORY F. CORBETT
                                                     (pro hac vice forthcoming)
14                                                   BRYAN S. CONLEY
15                                                    (pro hac vice forthcoming)
                                                     ELIZABETH A. DIMARCO
16                                                   (pro hac vice forthcoming)
                                                     KEVIN R. MOSIER
17                                                    (pro hac vice forthcoming)
                                                     WOLF, GREENFIELD & SACKS, P.C.
18
                                                     600 Atlantic Avenue, Boston, MA 02210
19                                                   Tel: (617) 646-8000 Fax: (617) 646-8646

20

21                                                   Attorneys for Plaintiff
                                                     AMPHENOL CORPORATION
22

23

24

25

26

27

28

                                               - 15 -
     COMPLAINT                                                            Case No.: 3:20-cv-06785
     Case 3:20-cv-06785-WHO              Document 1      Filed 09/29/20      Page 16 of 16


 1                                       DEMAND FOR JURY TRIAL
 2
             Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Amphenol hereby requests a
 3
     jury trial on all issues triable by a jury.
 4

 5
     DATED: September 29, 2020                        PROCOPIO, CORY, HARGREAVES &
 6                                                      SAVITCH LLP
 7

 8                                                    By:        /s/ Melinda M. Morton
                                                               MELINDA M. MORTON
 9                                                             PROCOPIO, CORY, HARGREAVES
10                                                             & SAVITCH LLP
                                                               1117 S. California Ave, Suite 200
11                                                             Palo Alto, CA 94304
                                                               Telephone: 650.645.9000
12                                                             Facsimile: 619.235.0398
13
                                                               GREGORY F. CORBETT
14                                                             (pro hac vice forthcoming)
                                                               BRYAN S. CONLEY
15                                                              (pro hac vice forthcoming)
                                                               ELIZABETH A. DIMARCO
16                                                             (pro hac vice forthcoming)
17                                                             KEVIN R. MOSIER
                                                                (pro hac vice forthcoming)
18                                                             WOLF, GREENFIELD & SACKS, P.C.
                                                               600 Atlantic Avenue, Boston, MA 02210
19                                                             Tel: (617) 646-8000 Fax: (617) 646-8646
20                                                             Attorneys for Plaintiff
                                                               AMPHENOL CORPORATION
21

22

23

24

25

26

27

28

                                                      - 16 -
     COMPLAINT                                                                   Case No.: 3:20-cv-06785
